                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


JAMES WADE
                      Plaintiff

               v.                                CIVIL ACTION NO.: 1:11-10051-FDS


UNITED STATES OF AMERICA and
DONNA DENESE ATHERTON, MSW
               Defendants


                                  DEFAULT JUDGMENT

SAYLOR, D.J.

       Defendant DONNA DENESE ATHERTON, MSW having failed to plead or
otherwise defend in this action and its default having been entered,
       Now, upon application of plaintiff and evidence demonstrating that defendant is
not an infant or incompetent person or in the military service of the United States.
       It is hereby ORDERED, ADJUDGED AND DECREED that plaintiff recover from
defendant DONNA DENESE ATHERTON, MSW the amount of $6,500.00, for a total
judgment of $ 6,500.00 with interest as provided by law.


       Defendant UNITED STATES OF AMERICA was dismissed from this action on
January 14, 2013, when the plaintiff filed a stipulation of dismissal pursuant to Fed. R.
Civ. P. 41 (a)(1)(A)(ii).


                                                 By the Court,


Dated: 12 JUL 2013                               /s/ Pietro Cicolini
                                                 Deputy Clerk


NOTE: The post judgment interest rate effective this date is 0.15      %.
